 

AO 91 (Rey. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Wisconsin

 

 

 

United States of America )
Vv. ) $ 4 o
: ) Case No. a y w"
Anthony Cross (DOB: XX/XX/1979) )
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 11/1/2019 - 1/13/2020 in the county of Milwaukee in the
Eastern District of Wisconsin , the defendant(s) violated:
Code Section Offense Description
Title 21, United States Code, Distribution of and possession with intent to distribute controlled substances

Sections 841(a)(1), 841(b)(1)(C),
and 841(b)(1)(B)

This criminal complaint is based on these facts:

See Attached Affidavit.

@ Continued on the attached sheet. -
a ~

Complainant's signature

 

Christopher Farrell, FBI Special Agent _

Printed name and title

 

Sworn to before me and signed in my presence.

/ £202 D Noth. S Catt)

Judge ’s signature

 

City and state: Milwaukee, Wisconsin William E. Callahan, Jr. ~
Printed name and title

 

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
I, Christopher Farrell, being first duly sworn, hereby depose and state as
follows:

INTRODUCTION AND AGENT BACKGROUND

 

1. I am a Special Agent with the FBI and have been since August of 2008.
I have been assigned to the Southeastern Wisconsin Regional Gang Task Force
since September of 2019. I was previously assigned to the Louisville and Pittsburgh
Field Offices. Prior to being employed with the FBI, I was a police officer for
approximately six and a half years. [ am an investigator or law enforcement officer
of the United States within the meaning of 18 U.S.C. Section 2510(7), in that I am
empowered by the law to conduct investigations of and to make arrests for federal
felony arrests.

2. As a Special Agent, I have participated in the investigation of
narcotics-related offenses, resulting in the prosecution and conviction of individuals
and the seizure of illegal drugs, weapons, United States currency, and other
evidence of criminal activity. As a narcotics investigator, | have interviewed many
individuals involved in drug trafficking and have obtained information from them
regarding acquisition, sale, importation, manufacture, and distribution of controlled
substances. Through my training and experience, I am familiar with the actions,

habits, traits, methods, and terminology utilized by the traffickers and abusers of

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controlled substances. I have participated in all aspects of drug investigations,
including physical surveillance, execution of search warrants, undercover
operations, court-ordered wiretaps, analysis of phone and financial records, and the
arrests of numerous drug traffickers. I have also been the affiant of many search
warrants. Additionally, I have spoken with other experienced narcotics
investigators on numerous occasions concerning the method and practices of drug
traffickers and money launderers. Furthermore, I have attended training courses
that specialized in the investigation of narcotics trafficking and money laundering.
Through these investigations, my training and experience, and conversations with
other law enforcement personnel, I have become with the methods used by drug
traffickers to manufacture, smuggle, safeguard, and distribute narcotics, and to
collect and launder trafficking-derived proceeds. I am further aware of the
methods employed by major narcotics organizations to thwart any investigation of
their illegal activities. I know that drug traffickers commonly have in their
possession, and at their residences and other locations where they exercise
dominion and control, firearms, ammunition, and records or receipts pertaining to
such.

3. The facts in this affidavit come my personal observations, my training
and experience, my review of documents, and information obtained from other law

enforcement agents and witnesses. This affidavit is intended to show merely that

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there is probable cause for securing a complaint and does not set forth all of my
knowledge about this matter.

4, I am submitting this affidavit in support of a criminal complaint for
ANTHONY CROSS. For the reasons set forth below, there is probable cause to
believe that on or about November 1, 2019, November 6, 2019, November 12, 2019,
December 11, 2019, and January 13, 2020, ANTHONY CROSS, committed the
crimes of distribution of and possession with intent to distribute controlled
substances, in violation of Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(C), and 841(b)(1)(B).

PROBABLE CAUSE

 

5. The United States, including the FBI and the FBI’s Southeastern
Wisconsin Regional Gang Task Force, are conducting a criminal investigation of
ANTHONY CROSS (DOB: XX/XX/1979) regarding possible violations of Title 21,
United States Code, Section 841(a)(1) (distribution of and possession with intent to
distribute controlled substances).

6. In October of 2019, case agents interviewed a confidential source (CS
#1). CS #1 stated that s/he bought cocaine approximately fifty times over the last
two years from an individual CS #1 knows as “ANT.” CS #1 indicated “ANT” sells
cocaine from his house, which is located on 37‘ Street between Fond du Lac Avenue
and Burleigh Street. According to CS #1, “ANT” is a Gangster Disciple gang

member, sometimes carries a gun, and is obtaining his cocaine from Chicago,

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Illinois. The CS provided a phone number of (414) 439-6701, or Target Cell Phone,
for “ANT.” CS #1 advised s/he could make a controlled buy of cocaine from “ANT.”

fe Based upon my training and experience, I know that a “controlled buy”
(and/or controlled contact) is a law enforcement operation in which a confidential
source purchases drugs from a target. The operation is conducted using
surveillance, usually audio and video taping equipment, and pre-recorded purchase
money. When a confidential source is used, s/he is searched for contraband,
weapons, and money before the operation. The confidential source is also wired with
a concealed body recorder and monitoring device. When the transaction is
completed, the confidential source meets cases agents at a pre-determined meet
location and gives the purchased drugs and the recording/monitoring equipment to
the case agents. The confidential source is again searched for contraband, weapons,
and money. A sample of the suspected drugs is then field tested by case agents for
the presence of controlled substance and then placed in inventory pursuant to
normal inventory procedures. Telephone calls to the target by the confidential
source are consensually recorded calls under the direction and control of case agents
and made in the presence of case agents.

8. Between November 1 and December 11, 2019, CS #1 made four
controlled purchases of crack cocaine (totaling 69.23 grams) and powder cocaine
(totaling 3.47 grams), from CROSS at CROSS’s residence, 31XX/31XXA N. 37th

Street, Milwaukee, Wisconsin.

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9. Case agents believe CS #1 is reliable and credible. First, CS #1 has
provided information since October 2019. Second, CS #1’s information is consistent
with case agents knowledge of violent gang subjects in Milwaukee, Wisconsin and
with evidence obtained elsewhere in this and other investigations where CS #1 was
not utilized. Furthermore, substantial portions of CS #1’s information has been
corroborated by controlled drug purchases, money deliveries, consensually recorded
phone calls with CROSS, as well as through independent investigation, including
surveillance and information from other sources. CS #1 is cooperating with law
enforcement to obtain consideration from the Milwaukee County District Attorney's
Office for pending charges related to narcotics trafficking. CS #1 has prior battery,
obstruction, and possession of narcotics convictions. For these reasons, case agents
believe CS #1 to be reliable.

10. On November 1, 2019, case agents utilized CS #1 to conduct a
controlled purchase of cocaine from “ANT.” CS #1 made a consensually recorded
phone call to the Target Cell Phone and told “ANT” that s/he needed to see him.
“ANT” indicated “alright.” Next, case agents provided CS #1 a recording device and
pre-recorded money for the controlled purchase, and then established surveillance
in the area of CROSS’s residence, 31.XX/31XXA N. 37 Street, Milwaukee.
Surveillance observed an Infiniti parked at the location and a male in a gray hood
approach the vehicle, which then quickly left. Case agents believe the male had

sold narcotics to the individual in the Infiniti. Shortly thereafter, case agents

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observed CS #1 park in the alley behind the residence. Upon CS #1’s arrival at the
residence, the same individual wearing a gray hood approached the passenger side
of CS #1’s vehicle, reached into the vehicle, and moments later walk back to the rear
yard. After the transaction, case agents met with CS #1 and seized the crack
cocaine and the recording device. Case agents field tested the crack cocaine with
positive results for cocaine base and weighed approximately 6.84 grams.

11. After the controlled purchase, CS #1 was briefed. CS #1 indicated s/he
called “ANT” at the Target Cell Phone and told him s/he needed seven grams. CS
#1 indicated “ANT” walked up to the vehicle and gave CS #1 a knotted bag of crack
cocaine. CS #1 gave $300 in pre-recorded law enforcement funds to “ANT.” CS #1
observed “ANT” walk back into the rear yard and enter the rear door at the
residence.

12. Case agents reviewed the recording device utilized by CS #1 to confirm
his/her purchase of crack cocaine from “ANT.”

13. On November 5, 2019, a case agent showed a single Milwaukee Police
Department booking photograph of ANTHONY CROSS (DOB: XX/XX/1979) to CS
#1. The photograph was unlabeled and contained no identifying information. CS
#1 positively identified the photograph as the person CS #1 knew as “ANT” and the

person that sold CS #1 the crack cocaine on November 1, 2019.

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14. On November 5, 2019, a case agent viewed the surveillance video of the
controlled narcotics purchase on November 1, 2019 and positively identified “ANT”
as ANTHONY CROSS.

15. On November 6, 2019, case agents utilized CS #1 to conduct a
controlled purchase of cocaine from CROSS. CS #1 made a consensually recorded
phone call to the Target Cell Phone and told CROSS that s/he needed to see him.
CROSS indicated “alright.” After providing CS #1 with pre-recorded monies and a
recording device, case agents established surveillance in the area of CROSS’s
residence, 31XX/31XXA N. 374 Street, Milwaukee, and observed CS #1 park in the
alley behind the residence. Surveillance observed CROSS walk to the front yard of
the address and approach a vehicle. CROSS entered the vehicle and exited
moments later. Shortly thereafter, surveillance observed CROSS walk to the back
yard and approach CS #1’s vehicle on the passenger side. Moments later, CROSS
walked back to the back yard and was then observed in the front yard entering the
previously observed vehicle. After the transaction, case agents met with CS #1 and
seized the cocaine and the recording devices. Case agents field tested the cocaine
with positive results for cocaine base and weighed approximately 13.94 grams.

16. After the controlled purchase, CS #1 was briefed. CS #1 indicated s/he
called CROSS at the Target Cell Phone and told him s/he needed “half of soft.”

According to CS #1, CROSS walked up to the passenger side of the vehicle and gave

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CS #1 a paper ball filled with cocaine. CS #1 gave CROSS $600 in pre-recorded law
enforcement funds.

17. Case agents reviewed the recording device utilized by CS #1 to confirm
his/her purchase of cocaine from CROSS. A case agent viewed the surveillance
video of the controlled narcotics purchase and positively identified the individual
giving the narcotics to CS #1 as CROSS.

18. On November 6, 2019, I met with CS #1 who indicated s/he had
purchased approximately one kilogram of powder cocaine from CROSS since 2012
or 2013. CS #1 stated CROSS is a Gangster Disciple and overheard him state he
had relatives who are 4 Corner Hustlers in Chicago. CS #1 believed CROSS is
obtaining his narcotics from these individuals in Chicago.

19. On November 12, 2019, case agents utilized CS #1 to conduct a
controlled purchase of cocaine from CROSS. CS #1 made a consensually recorded
phone call to the Target Cell Phone, and CROSS told CS #1 he would call CS #1
back. CROSS, using the Target Cell Phone, called back and indicated he was “over
there,” and CS #1 stated s/he would be there in a minute. CS #1 then drove to the
31XX/31XXA N. 37th Street, Milwaukee equipped with a recording device and pre-
recorded law enforcement monies.

20. Case agents established surveillance in the area of CROSS’s residence
and observed CS #1 park in the alley behind the residence. Surveillance observed

CROSS walk to CS #1’s driver side door and return to the rear of the residence.

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Shortly thereafter, CROSS returned to the driver’s side door and then quickly ran
back to the rear yard of the residence. After the transaction, case agents met with
CS #1 and seized the cocaine and the recording device. Case agents field tested the
cocaine with positive results for cocaine base and powder cocaine. The crack cocaine
weighed 41.53 grams and the powder cocaine weighed 3.47 grams.

21. After the controlled purchase, CS #1 was briefed. CS #1 indicated s/he
called the Target Cell Phone and told CROSS s/he needed an ounce and one-half of
crack cocaine and a ball of powder cocaine. CROSS met CS #1 at the driver door
and gave CS #1 one-half ounce of crack cocaine. CS #1 told CROSS he wanted an
ounce and one-half of crack cocaine and a ball of powder cocaine. CROSS told CS
#1 he thought s/he only wanted a half. CS #1 gave CROSS $1,950 in cash. CROSS
returned and gave CS #1 a bag with an ounce of crack cocaine and another bag with
a ball of powder cocaine.

22. Case agents reviewed the recording device utilized by CS #1 to confirm
his/her purchase of cocaine from CROSS. A case agent viewed the surveillance
video of the controlled narcotics purchase and positively identified the individual
giving the narcotics to CS #1 as CROSS.

23. On December 4, 2019, a U.S. Magistrate Judge in the Eastern District
of Wisconsin signed a search and seizure warrant to obtain prospective E-911/GPS
Data latitude-longitude information for the Target Cell Phone. The U.S. Magistrate

Judge also signed a pen register trap and trace order for the Target Cell Phone.

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24. On December 11, 2019, case agents utilized CS #1 to conduct a
controlled purchase of cocaine from CROSS. CS #1 made a consensually recorded
phone call to the Target Cell Phone and CROSS told CS #1 to “come through there.”
CS #1 then drove to 31XX/31XXA N. 37‘ Street, Milwaukee equipped with a
recording device and pre-recorded law enforcement monies.

25. Case agents established surveillance in the area of the residence and
observed CS #1 park in the alley behind the residence. Surveillance observed
CROSS walk to CS #1’s passenger door and then return to the rear of the
residence. CS #1 exited the vehicle and walked to the front passenger door, reached
into the vehicle, and then returned to the driver seat. After the transaction, case
agents met with CS #1 and seized crack cocaine and the recording device. Case
agents field tested the crack cocaine with positive results for cocaine. The crack
cocaine weighed 6.92 grams.

26. After the controlled purchase, CS #1 was briefed. CS #1 indicated s/he
called the Target Cell Phone once s/he arrived in the alley behind the residence and
told CROSS s/he needed “7 hard.” CROSS met CS #1 at the passenger door and
CS #1 gave CROSS $300. CROSS then dropped a corner cut bag of crack cocaine
on the front passenger seat. The bag fell between the front seat and the passenger
door. CROSS then walked back into the rear of the residence. CS #1 exited the

vehicle and walked over to the front passenger seat to pick up the crack cocaine.

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27. Case agents reviewed the recording device utilized by CS #1 to confirm
his/her purchase of cocaine from CROSS. A case agent viewed the surveillance
video of the controlled narcotics purchase and positively identified the individual
giving the narcotics to CS #1 as CROSS.

28. Case agents reviewed the location data for the Target Cell Phone
during the purchase of crack cocaine from CROSS on December 11, 2019. The
crack cocaine purchase occurred between approximately 12:15 p.m. and 12:21 p.m.
The location data showed the Target Cell Phone within 9 meters of CROSS’s
residence at approximately 11:58 a.m., within a 121 meter radius of the residence at
approximately 12:13 p.m., and within an 8 meter radius of the residence at
approximately 12:28 p.m. Case agents reviewed pen register trap and trace data for
the Target Cell Phone, which showed CS #1 making a phone call to CROSS at
approximately 12:07 p.m. and another call at approximately 12:15 p.m.

29. OnJanuary 8, 2020, case agents obtained a federal search warrant to
search CROSS’s residence, 31XX/31XXA N. 37» Street, Milwaukee, Wisconsin.
That search warrant was executed on January 13, 2019, at which time law
enforcement located CROSS and two other adults in the lower unit. Law
enforcement also located approximately one or two ounces of suspected crack
cocaine in the toilet, a digital scale in the kitchen garbage, sandwich baggies, two
boxes of baking soda, and a small plastic baggie containing suspected marijuana.

CROSS was arrested at the scene.

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CONCLUSION

41. Based upon the aforementioned information, I believe there is probable
cause to believe that, on or about November 1, 2019, November 6, 2019, November
12, 2019, and December 11, 2019, and January 13, 2020, ANTHONY CROSS,
committed the crimes of distribution of and possession with intent to distribute
controlled substances, in violation of Title 21, United States Code, Sections

841(a)(1), 841(b)(1)(C), and 841(b)(1)(B).

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